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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1866V
                                        UNPUBLISHED


    LINDSAY GERAGHTY,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: June 15, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Edward M. Kraus, Kraus Law Group, LLC, Chicago, IL, for Petitioner.

Tyler King, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On December 15, 2020, Lindsay Geraghty filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered right shoulder injuries related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on
October 2, 2019. Petition at 1. Petitioner further alleges that the vaccine was administered
in the United States, she experienced residual effects of her condition for more than six
months, and she has not received compensation in the form of an award or settlement
for her vaccine-related injuries nor has she filed a civil action for her injuries. Petition at
¶¶ 3, 14-16, 18. The case was assigned to the Special Processing Unit of the Office of
Special Masters.


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       On June 13, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “petitioner had no history of pain, inflammation, or
dysfunction of her right shoulder that would explain her symptoms after vaccination; pain
occurred within forty-eight hours after receipt of an intramuscular vaccination; pain was
limited to the shoulder in which the vaccine was administered; and no other condition or
abnormality has been identified to explain petitioner’s shoulder pain.” Id. at 5. Respondent
further agrees that “the records show that petitioner timely filed her claim, that she
received the flu vaccine in the United States, and that she satisfies the statutory severity
requirement by suffering the residual effects or complications of her injury for more than
six months after vaccine administration.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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